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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                  8:15CR247
                                                )
       vs.                                      )
                                                )                  ORDER
EDWARD DAVIS,                                   )
                                                )
                      Defendant.                )

       This matter is before the court on the motion in limine by defendant Edward Davis
(Davis) (Filing No. 100). On February 4, 2016, Davis was given an opportunity to employ an
expert to address the issue of whether or not the government’s GPS was subject to a motion
under Daubert v. Merrell Dow Pharmaceuticals, 113 S.Ct. 2786 (1983) (Filing No. 129).
Further, Davis was given until February 19, 2016, in which to file a response to the
government’s position that GPS evidence is not subject to a Daubert hearing. To date no
CJA form 21 has been requested to employ an expert and no response has been filed
regarding the government’s position. Accordingly, the court deems the motion in limine (Filing
No. 100) to be abandoned. The motion is denied, without prejudice.


       IT IS SO ORDERED.


                                        ADMONITION
       Pursuant to NECrimR 59.2 any objection to this Order shall be filed with the Clerk
of the Court within fourteen (14) days after being served with a copy of this Order. Failure
to timely object may constitute a waiver of any such objection. The brief in support of any
objection shall be filed at the time of filing such objection. Failure to file a brief in support
of any objection may be deemed an abandonment of the objection.


       DATED this 7th day of March, 2016.
                                                    BY THE COURT:
                                                    s/Thomas D. Thalken
                                                    United States Magistrate Judge
